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            In the United States Court of Federal Claims
                                          No. 14-183L
                                    (Filed: October 1, 2018)

                                             )
 IDEKER FARMS, INC., et al.,                 )
                                             )
                      Plaintiffs,            )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                      Defendant.             )
                                             )

                                          ORDER

      The court has reviewed the parties’ joint status report (ECF No. 452), filed
September 28, 2018, and after consideration ORDERS as follows:

       The above-captioned case is hereby STAYED pending the outcome of the
September 17, 2018 petition for certiorari filed by plaintiffs in St. Bernard Parish v.
United States, 887 F.3d 1354 (Fed. Cir. 2018). Defendant shall file a status report on the
status of the St. Bernard Parish plaintiffs’ petition for certiorari by December 17, 2018,
or within five days of the Supreme Court’s decision on whether to grant certiorari,
whichever is first.

       The court’s September 5, 2018 order (ECF No. 450) is hereby VACATED and
oral argument on the parties’ motions for reconsideration scheduled for November 1,
2018, is CANCELLED.

       IT IS SO ORDERED.



                                                               s/Nancy B. Firestone
                                                               NANCY B. FIRESTONE
                                                               Senior Judge
